  Case 2:22-cr-00522-KM Document 248 Filed 06/01/23 Page 1 of 1 PageID: 236




                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA             :    Crim. No. 22-522

      v.                             :

BRIAN ADJAVON                        :
QUINTON SESSIONS
GEORGE WIGGINS                       :    SUBSTITUTION OF ATTORNEY



            PLEASE TAKE NOTICE that Philip R. Sellinger, United States

Attorney for the District of New Jersey, has reassigned the above-captioned

matter to Anthony Torntore, Assistant U.S. Attorney

(anthony.torntore@usdoj.gov), in substitution for Jamie Hoxie Solano, Assistant

U.S. Attorney, who previously appeared in this matter.

                                          PHILIP R. SELLINGER
                                          United States Attorney

                                          s/ Jamie Hoxie Solano
                                          By: Jamie Hoxie Solano
                                          Assistant U.S. Attorney

Dated:     June 1, 2023
